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Attorneys for Plaintiff


                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO


  ALESHEA L. BOALS,

            Plaintiff,                                   SERVICE STATUS REPORT
  vs.

  CANYON COUNTY SHERIFF’S                                 Civil No. 1:22-CV-00179-REP
  OFFICE; and SHERIFF KIERAN
  DONAHUE, in his individual capacity.                   District Judge Raymond Patricco

          Defendants.



        Pursuant to Dist. Idaho L. Rule 4.1, Plaintiff hereby provides notice that service of the

Complaint and summonses in this case has not yet been completed. Plaintiff provided Defendants’

counsel with courtesy copies of the Complaint via e-mail on April 22, 2022. Plaintiff will likely

be amending her claims before service, but will officially serve the lawsuit within the 90 days

provided under Fed. R. Civ .P 4(m).




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     DATED this 20th day of May, 2022.

                                         STRINDBERG SCHOLNICK BIRCH
                                         HALLAM HARSTAD THORNE

                                         _/s/ Erika Birch_____________________
                                         Kass Harstad
                                         Erika Birch
                                         Attorneys for Plaintiff




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